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 2   Northern District of California
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 7

 8   Counsel for Defendant BEHM
 9

10                            IN THE UNITED STATES DISTRICT COURT
11                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                                     SAN FRANCISCO DIVISION
13

14      UNITED STATES OF AMERICA,                          Case No.: CR 20-00321 EMC
15                      Plaintiff,                         STIPULATION AND [PROPOSED]
                                                           ORDER EXCLUDING TIME UNDER
16              v.                                         THE SPEEDY TRIAL ACT AND
                                                           REQUEST TO CONTINUE HEARING
17      DALE BEHM,
18                      Defendant.
19

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21           Dale Behm is scheduled to appear for a change of plea hearing on December 8, 2021, at
22   2:30 p.m. Defense counsel and the government are in consultation regarding details of the plea
23   agreement. Defense counsel also requests additional time to get the new transfer attorney up to
24   date in preparation for defense counsel’s upcoming parental leave. The parties therefore jointly
25   request a continuance in the above-captioned matter to December 15, 2021, at 2:30 p.m. or as
26   soon thereafter as the Court is available.
27           The parties further stipulate and request that, under the Speedy Trial Act, the Court
28   exclude the time from November 18, 2021 to December 15, 2021. An exclusion is appropriate

     STIPULATION TO EXCLUDE TIME, REQUEST TO CONTINUE HEARING, AND [PROPOSED] ORDER
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 1   under 18 U.S.C. § 3161(h)(7)(B)(iv), effective preparation of counsel and continuity of
 2   counsel, taking into account the exercise of due diligence. An exclusion of time from
 3   November 18, 2021 to December 15, 2021 is also appropriate under 18 U.S.C. §
 4   3161(h)(7)(B)(iv), as the ends of justice served the granting of such continuance outweigh the
 5   best interest of the public and the defendant in a speedy trial.
 6           IT IS SO STIPULATED.
 7

 8
                       December 6, 2021                    STEPHANIE HINDS
 9                     Dated                               Acting United States Attorney
                                                           Northern District of California
10
                                                                     /S
11
                                                           COLIN SAMPSON
12                                                         Assistant United States Attorney

13

14
                      December 6, 2021                     GEOFFREY HANSEN
15                    Dated                                Acting Federal Public Defender
                                                           Northern District of California
16
                                                                     /S
17                                                         SOPHIA WHITING
                                                           Assistant Federal Public Defender
18

19
             IT IS SO ORDERED.
20

21

22           ___________________                   _____________________________________
             Dated                                 THE HONORABLE EDWARD M. CHEN
23                                                 United States District Judge
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     STIPULATION TO EXCLUDE TIME, REQUEST TO CONTINUE HEARING, AND [PROPOSED] ORDER 2
